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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

TAMEKA BATES,                                )
                                             )
               Plaintiff,                    )
                                             )
                                                 Case No. 2:17-CV-12628
      vs.                                    )
                                             )
                                                 Hon. Paul D. Borman
TRANS UNION, LLC; NAVIENT                    )
SOLUTIONS, INCORPORATED;                     )
                                                 Magistrate Judge Elizabeth A.
UNITED STUDENT AID FUNDS,                    )
                                                 Stafford
INCORPORATED,                                )
                                             )
               Defendants.                   )


                   STIPULATION TO AMEND CASE CAPTION

      The parties, through their respective counsel, stipulate to amend the caption

to reflect the proper name of Defendant Navient Solutions, LLC. In support of this

Stipulation, the parties state as follows:

      (1) On August 10, 2017, Plaintiff filed her complaint in the above-captioned

            action against Defendant “Navient Solutions, Incorporated,” as well as

            Defendants Trans Union, LLC and United Student Aid Funds,

            Incorporated. (Dkt. 1).

      (2) On January 31, 2017, in connection with an internal corporate

            reorganization, Navient Solutions, Inc. converted to a Delaware limited
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         liability company, and changed its name from “Navient Solutions, Inc.”

         to “Navient Solutions, LLC.”

      (3) Therefore, the parties agree to amend the case caption to reflect the

         proper name of the Navient defendant as “Navient Solutions, LLC.”

Dated: November 5, 2018

For Plaintiff,                          For Defendant,
Tameka Bates                            Trans Union, LLC


 /s/ David M. Marco (w/ permission)     /s/ Camille Nicodemus (w/ permission)
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For Defendants
Navient Solutions, LLC &
United Student Aid Funds, Inc.

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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

TAMEKA BATES,                             )
                                          )
              Plaintiff,                  )
                                          )
      vs.                                 )        Case No. 2:17-CV-12628
                                          )        Hon. Paul D. Borman
TRANS UNION, LLC; NAVIENT                 )
SOLUTIONS, LLC; UNITED                    )        Magistrate Judge Elizabeth A.
STUDENT AID FUNDS,                        )        Stafford
INCORPORATED,                             )
                                          )
              Defendants.                 )



                   ORDER TO AMEND THE CASE CAPTION

            Pursuant to the parties’ Stipulation, it is hereby ORDERED that the name

of Defendant “Navient Solutions, Incorporated” shall be substituted for “Navient

Solutions, LLC,” and the caption of the case shall be corrected accordingly.



Dated: November 6, 2018                             s/Paul D. Borman
                                                    Paul D. Borman
                                                    United States District Judge
